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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OKLAHOMA

   DCCC, et al.,
                                          Plaintiffs,
   v.                                                   Case No:   20-CV-211-JED-JFJ

   PAUL ZIRIAX, in his official capacity as
   SECRETARY OF THE OKLAHOMA STATE
   ELECTION BOARD, et al.,
                                         Defendants.




   DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS IMPROPER PARTIES AND
                 DISMISS OR TRANSFER VENUE AND BRIEF IN SUPPORT
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            Plaintiffs’ opposition to the motion to dismiss seeks to (1) rely on a misunderstanding of

   Oklahoma law in order to force improper Defendants into this action and (2) apply venue rules never

   accepted by the Tenth Circuit to warrant proceeding with this suit here.

       I.   Plaintiffs’ arguments on the Board Members misunderstand Oklahoma law.

            A quick look at the State Election Board’s “About Us” pages online would correct many of

   Plaintiffs’ mistakes in their opposition brief. As the website explains, “The term ‘State Election Board’

   may refer to either the agency or the three-member board.” State Election Board Secretary and Members,

   OKLA. STATE ELECTION BD. 1 This distinction exists because the Board Members do not govern all

   actions of the agency; instead, management of the State Election Board is split between the Board

   Members and the Secretary of the State Election Board, depending on the issue. Id. The Board Members

   handle “certifying state and federal election results, appointing county election board members, and

   deciding contests of candidacy,” but do not handle many other responsibilities of the agency. Id.

            Plaintiffs’ arguments therefore repeatedly confuse the role of the agency as a whole with the

   roles of the two sets of officials that take actions on behalf of the State Election Board: Secretary Ziriax,

   on the one hand, and the Board Members, on the other. Put another way, the relevant agency here is

   the State Election Board, but since the agency has sovereign immunity from suit, Ex Parte Young requires

   analyzing who is the relevant enforcement officer within the agency for the challenged agency actions.

   209 U.S. 123, 157 (1908). So, while Plaintiffs cite several sources referring to actions and duties of the

   “State Election Board,” their mistake is failing to distinguish whether any given act is assigned by law to

   the Secretary or instead to the Board Members.

            Plaintiffs are correct that the agency, for example, has “oversight of the state’s 77 county election

   boards,” Okla. Const. art. 3, § 2, but that fact alone is insufficient to determine which state official within


   1
       https://www.ok.gov/elections/About_Us/Secretary_and_Board/index.html

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   the State Election Board is a proper party to this suit. The constitutional oversight of county election

   boards is split between the Board Members and the Secretary: the Board Members have appointment

   and removal authority while the Secretary engages in almost all other supervision of county election

   boards, including their “application, operation and interpretation of the state and federal election laws.”

   OKLA. STAT. tit. 26, §§ 2-107, 2-111, 2-114. Because this suit is about the latter duties, the sole proper

   officer to sue is the Secretary, not the Board Members. 2

           As another example, the Secretary employs the personnel who perform the agency’s

   administrative duties and defines their roles. OKLA. STAT. tit. 26, § 2-107. Thus, when Plaintiffs cite his

   testimony where he stated that the agency staff programs and tests all election databases and “prepare

   the ballot files,” Doc. 31 at 6 n.5, 8, they fail to realize that it is the Secretary—not the Board Members—

   who manages these agency staff actions. 3 Similarly, Plaintiffs’ suggestions that changes to guidance to

   county election boards or to the agency website and databases require the Board Members, Doc. 31 at

   7-9, simply fail to understand that those agency tasks are managed by the Secretary.

           Plaintiffs also fail to rebut the extended citations in the Motion showing that the statutes they

   are challenging are handled by the Secretary and not the Board Members. See Doc. 24 at 2-3. They note

   a state court case that included the entire agency as a defendant. Doc. 31 at 6, 8 (citing Gentges v. Oklahoma

   State Election Board, 319 P.3d 674 (Okla. 2014)). Yet Plaintiffs do not contend that the state has waived

   sovereign immunity of its agencies in federal court; indeed, they do not here attempt to sue the agency,

   but instead they are attempting to sue the officials within the agency enforcing the challenged laws under

   Ex Parte Young. Here, the Secretary alone, not the Board Members, is the relevant official. They also note


   2
     Similarly, while Plaintiffs note the agency “owns [the very] network used to securely communicate
   with county election boards,” Doc. 31 at 6, communications about applying state election law come
   from the Secretary and not the Board Members.
   3
     See Testimony of Paul Ziriax Before the Subcomm. on Investigations and Oversight 2 (June 25, 2019),
   https://science.house.gov/imo/media/doc/Ziriax%20Testimony.pdf.

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   a federal court case where the Board Members and the Secretary all remained as defendants without

   objection. Doc. 31 at 7 (citing Atherton v. Ward, 22 F. Supp. 2d 1265, 1270 (W.D. Okla. 1998)). But the

   Secretary was responsible for the relief in that case, and the fact that the Board Members did not raise

   their sovereign immunity and related defenses there does not preclude those defenses now. 4 Thus, neither

   authority rebuts the extensive citations showing the Secretary’s exclusive role over the statutes at issue.

           Plaintiffs also raise the idea that they need an order delaying state and county board members

   from certifying results. This argument is peculiar for two reasons. First, none of Plaintiffs’ allegations or

   claims relate to the Board Members’ deadline. Second, delaying the state Board Members would be

   pointless because they cannot certify the election results without county results. See OKLA. STAT. tit. 26,

   § 7-136 (“shall use such county returns”). State Board Members also do not control how those results

   are sent to them; the Secretary does. See 33 Ok Reg 1417 (citing OKLA. STAT. tit. 26, § 7-136 (“as

   prescribed by the Secretary”)). Thus, an injunction issued to the Secretary would provide Plaintiffs the

   voting extension they desire because the delay in county returns would prevent any action by the state

   Board Members. If Plaintiffs (baselessly) believe that county board members will flout the Secretary’s

   instructions issued pursuant to an order from this Court, then Plaintiffs need to add those county board

   members as parties. If Plaintiffs (baselessly) believe the state Board Members will certify a zero vote

   election even though state law tells them to use county returns, then Plaintiffs need to add that allegation,

   but it is nowhere in their Complaint. Until then, they have alleged no enforcement action by the Board

   Members that would waive sovereign immunity or otherwise allow retaining them as parties.




   4
     Plaintiffs question whether this argument is proceeding under Ex Parte Young or standing. Doc. 31
   at 3. The Board Members noted four doctrines at issue: Ex Parte Young, standing, failure to state a
   claim, and misjoinder. Doc. 24 at 1-2. The general distinctions between these doctrines do not matter
   for this particular motion because they are all controlled by the same question: Do the Board Members
   enforce the laws at issue? The answer is no.

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             Ultimately, Plaintiffs’ opposition brief confirms what Defendants suspected at the outset:

   “Plaintiffs’ decision to sue members of the election board may just be a misunderstanding.” Doc. 24 at

   2. There is no reason to double-down on this misunderstanding of state law, further confuse the public

   and future litigation, and keep the Board Members in this litigation when the Secretary is already a proper

   party to this suit. Accordingly, this court should dismiss the Board Members from this case.

       II.   Venue is improper in this District.

             Plaintiffs advance no arguments or authorities on why a personal residence would be relevant to

   an official capacity suit. See Doc. 31 at 11. Plaintiffs therefore implicitly concede, in line with Wright &

   Miller, that Defendants’ personal residence cannot supply venue in this suit. See Doc. 24 at 11. Because

   Plaintiffs’ opposition only advances venue theories that apply equally to the Secretary and the Board

   Members—regarding official (rather than personal) residence—the proper parties issue does not affect

   the venue analysis, and this reply will address venue without further distinction between Defendants.

             A.      Defendants do not officially reside in the Northern District, so venue is improper
                     here under § 1391(b)(1).

             Plaintiffs’ reading of the residence venue statute is oddly detached from the statute itself. The

   venue statute defines residency as “the judicial district in which that person is domiciled.” 28 U.S.C.

   § 1391(c)(1) (emphasis added). The text is clear that only one district can be the relevant residence;

   residency cannot lie everywhere in a state with three separate districts. Contra Doc. 31 at 10. Thus the

   text of the statute, along with Wright & Miller, dictates that courts look to a single official residence for

   official capacity suits. Doc. 24 at 11. Because Plaintiffs’ multiple-districts theory of official residence does

   not fit the statute, they instead offer some policy arguments gleaned from case law. But all of their

   citations predate 2011, 5 when Congress added this definition of residence to the venue statute Compare


   5
    Even under a pre-2011 venue statute, Plaintiffs’ Michigan case law is of little value here because
   Michigan state officials maintain 173 offices throughout the state, with at least one in every county—

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   Federal Courts Jurisdiction and Venue Clarification Act of 2011, P.L. 112-63, 125 Stat 758, 764 (Dec. 7,

   2011); with Doc. 31 at 10-11 (discussing cases from 1990, 1980, 1976, and 2004). This court should

   follow the text of the statute over Plaintiffs’ outdated policy arguments and conclude that Defendants

   only officially reside in one judicial district: the Western District, where their office is located.

           B.       Defendants’ events or omissions occurred in the Western District, so venue is
                    improper here under § 1391(b)(2).

           To start, Plaintiffs are simply wrong when arguing that “venue is a privilege that belongs to

   Plaintiffs as well.” Doc. 31 at 18. The only purpose of venue is giving Defendants the right to alter

   Plaintiffs’ choice of forum. See Doc. 24 at 5-6. After all, a plaintiff initially selects a forum to advance

   their interests by choosing where to sue; the venue rules, on the other hand, tell a court that has subject

   matter jurisdiction whether it is a proper forum to protect defendants’ interests. The venue statute (28

   U.S.C. § 1391) is not a pure convenience balancing test like 28 U.S.C. § 1404(a). Rather, it is a statutory

   definition to protect defendants that applies regardless of whether the two forums at issue are two hours

   apart or twenty minutes. 6 Plaintiffs’ arguments rely on transposing Plaintiffs’ interests in convenience

   reflected in § 1404(a) into a venue analysis under § 1391. This court should not make that mistake.

           Based on this error, Plaintiffs confuse the concept of where Defendants acted with where

   Plaintiffs suffered injury, misreading Employers Mutual. There, the Tenth Circuit first “examine[d] the

   nature of the plaintiff’s claims and the acts or omissions underlying those claims.” Employers Mut. Cas.

   Co. v. Bartile Roofs, Inc., 618 F.3d 1153, 1166 (10th Cir. 2010). The insurance policy at issue was negotiated

   and signed in Utah, underwritten in Colorado, and insured a project in Wyoming. See id. It then examined

   “whether substantial ‘events material to those claims occurred’ in the forum district.” Id. (quoting Gulf


   a structure not present in Oklahoma or other states. See Fla. Hometown Democracy, Inc. v. Browning, No.
   08-CV-80636-CIV, 2008 WL 3540607, at *3 (S.D. Fla. Aug. 12, 2008) (distinguishing Bay County).
   6
     See Transp. Funding, LLC v. HVH Transp., Inc., No. 2:17CV2106, 2017 WL 4223126, at *4 & n.58 (D.
   Kan. Sept. 22, 2017) (Kansas City, KS is improper venue for case concerning Kansas City, MO).

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   Ins. Co. v. Glasbrenner, 417 F.3d 353, 357 (2d Cir. 2005)). While the defendant argued that only Utah was

   a proper venue, the Tenth Circuit held that Wyoming was a proper venue as well because defendant had

   performed the negligent work at issue in Wyoming. See id. The plaintiff, meanwhile, was facing a loss in

   Utah or Colorado, not where it filed suit in Wyoming. See id. 7 Plaintiffs try to glide over these facts by

   interpreting the relevant events to “includ[e] where the loss or harm occurred,” Doc. 31 at 13, omitting

   that the Tenth Circuit only found venue proper where the defendant acted. Thus, the location of

   plaintiff’s harm was not relevant to the Tenth Circuit’s decision. Employers Mut., 618 F.3d at 1166 n.11.

           Accordingly, the only decision from the Tenth Circuit interpreting whether § 1391(b)(2) applies

   to plaintiff’s harm as well as defendant’s activities is Goff, which held it applies only to defendant’s

   activities. Plaintiffs try to dismiss the relevant language from Goff as dicta by questioning whether

   sufficient contacts existed between the defendant and the forum—conflating venue with personal

   jurisdiction. See Doc. 31 at 17. They omit that Goff noted the plaintiff committed relevant activities in

   Oklahoma and that venue was improper because the defendants committed all of their acts in Arkansas.

   Goff v. Hackett Stone Co., 185 F.3d 874, 1999 WL 397409, at *1 (10th Cir. 1999). Reading this as a

   minimum contacts test rather than an application of the explicitly-cited Eighth Circuit venue test is just

   misreading Goff. See id. 8 Most district courts in this circuit agree—which is why Defendants could easily

   find a string of citations in support of their position, Doc. 24 at 7-8, while Plaintiffs can only come up

   with two decisions over 21 years in the circuit, Doc. 31 at 17 n.20. Goff is the majority rule in this Circuit.

           Plaintiffs’ attempt to recast the Goff rule as a minority rule among Circuits is similarly incorrect.

   Doc. 31 at 16. First, both the district courts in the Second Circuit and the treatises recognize that the


   7
     This is the reverse of the First Circuit case discussed in the motion: there, plaintiff was suing where
   his loss occurred, whereas in Employees Mutual the insured as defendant is being sued where his loss
   occurred. See Uffner v. La Reunion Francaise, S.A., 244 F.3d 38, 42 (1st Cir. 2001).
   8
     Hence, there is no point in discussing the sufficiency of the contacts that Plaintiffs raise in a footnote
   because personal jurisdiction is not in dispute. See Doc. 31 at 17 & n.20.

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   Second Circuit adopted the Eighth and Eleventh Circuits’ rule in Daniel v. Am. Bd. of Emergency Med., 428

   F.3d 408, 432 (2d Cir. 2005). See, e.g., Ne. Landscape & Masonry Assocs., Inc. v. State of Connecticut Dep’t of

   Labor, No. 14-CV-9104 (KMK), 2015 WL 8492755, at *4 (S.D.N.Y. Dec. 10, 2015) ([T]he Second Circuit

   has made clear that the venue analysis must focus on where the defendant’s acts or omissions occurred.”)

   (internal quotation marks omitted); WRIGHT & MILLER § 3806 n.8. Plaintiffs’ attempt to re-read the

   Second Circuit’s view based on earlier precedent cited in Daniel is simply disagreement with the Second

   Circuit’s view of its own cases. Second, the Sixth Circuit has not taken a view on the split. Defendants

   offered a “cf.” cite merely to note that the Sixth Circuit has not condemned looking at plaintiffs’ activities,

   but it has also never found venue based on those activities. See Doc. 24 at 7 n.1. Third, the Fourth Circuit

   case involves litigation between a lawyer and a client over work done for the client’s litigation in Virginia.

   See Mitrano v. Hawes, 377 F.3d 402, 404 (4th Cir. 2004). The lawyer was acting as the client’s agent in

   Virginia, see id., so it would have been odd to conclude that a defendant did not act where his agent acted.

   Because venue in Virginia would be perfectly consistent with the rule in Goff, that panel’s positive citation

   to the First Circuit’s analysis is dicta at best. Thus, the holdings in the circuits still favor the Goff rule: the

   Second, Eighth, and Eleventh Circuits are in the majority versus the First and Third Circuits.

           Aside from Goff, Plaintiffs also offer a host of erroneous arguments. First, they give a misguided

   defense of conflating venue and personal jurisdiction, pointing to Congress’s provision for using the

   minimum contacts test when there is no other district where venue is proper, but failing to explain why

   that provision in 28 U.S.C. § 1391(b)(3) would change the meaning of § 1391(b)(2). Doc. 31 at 18. 9

   Congress’s language including personal jurisdiction in venue analysis under § 1391(b)(3) indicates that it

   intentionally excluded personal jurisdiction from venue analysis under § 1391(b)(2). See Babb v. Wilkie,


   9
     The Wright & Miller treatise goes on to note that “personal jurisdiction and venue protect different
   interests” and “[p]ersonal jurisdiction and venue simply are not the same thing.” CHARLES A. WRIGHT
   AND ARTHUR R. MILLER, ET AL., 14D FED. PRAC. & PROC. § 3806.


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   140 S. Ct. 1168, 1177 (2020) (quoting Russello v. United States, 464 U.S. 16, 23 (1983)) (courts presume

   that inclusion of particular language in one subsection means omission elsewhere was intentional).

           Second, Plaintiffs note that some states have only one district, which prevents venue transfers

   within those states, but fail to explain why that is relevant in states like Oklahoma that have multiple

   districts. Doc. 31 at 19. Congress’s creation of multiple federal districts within one state is not

   meaningless; it has practical consequences not to be ignored.

           Third, Plaintiffs make the odd assertion that venue protects Defendants from being sued in other

   states. Id. But Plaintiffs’ own strained interpretation of venue would offer no protection even for suits

   outside of Oklahoma: If Defendants sent enough absentee ballots to Kansas to be subject to personal

   jurisdiction there, the “risks of finding witnesses, notaries, or copies of photo identification” that

   Plaintiffs complain of, id. at 17 n.20, would occur in Kansas, making venue over this suit challenging

   Oklahoma laws proper in Kansas under Plaintiffs’ theory.

           Fourth, Plaintiffs argue that § 1391(b)(2) must provide another venue beyond the residence noted

   in § 1391(b)(1). There is no basis for that argument in the text. “[T]hese options are of equal dignity.”

   WRIGHT & MILLER § 3804. Only § 1391(b)(3) specifies that it provides additional venue beyond the

   other options. The better explanation of the interaction between § 1391(b)(1) & (b)(2) is the one present

   in case law: that state election officials who act outside their official residence are subject to venue in

   either location, Bay Cty. Democratic Party v. Land, 340 F. Supp. 2d 802, 808 (E.D. Mich. 2004) (noting that

   state officials in Michigan maintained branch offices in every county), while state election officials who

   act only at their official residence are only subject to venue there, Fla. Hometown Democracy, Inc. v. Browning,

   No. 08-CV-80636-CIV, 2008 WL 3540607, at *3 (S.D. Fla. Aug. 12, 2008) (noting that supervision of

   county officials occurred at the state capitol). The two provisions allow for different fact patterns; they

   don’t guarantee two venues in every case.


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           Indeed, Plaintiffs’ refusal to discuss the Browning case despite the extensive discussion in

   Defendants’ motion is telling. As that court observed, an election official’s statewide obligations do not

   subject him to venue everywhere a county official acts on his instructions. See id. at *3. Instead, he is only

   subject to venue where he “acted in conjunction” with a county official, either directly or through

   “offices or employees outside of the state capital.” Id. at *2-*3. Thus, the Florida Secretary of State’s

   responsibility to supervise county officials on validating petition signatures did not subject him to venue

   in every county. See id. After failing to address Browning, Plaintiffs here commit the same error as the

   plaintiffs there, relying heavily on the same Michigan case on venue without acknowledging Michigan’s

   unique structure of having state election offices in every county. See id. at *3. Because Oklahoma, like

   Florida, uses a combination of state and county officials rather than having state election offices in every

   county, this court should follow the Florida court’s reasoning in applying venue to election officials.

           Fifth, Plaintiffs offer the meaningless observation that some state officials have failed to challenge

   venue in these sorts of cases. Doc. 31 at 12, 14-15. But Defendants here have generally asserted their

   venue privilege, notwithstanding the practice of election officials in other states. See, e.g., Gentges, 319

   P.3d at 675 (noting that the Oklahoma Supreme Court ordered a transfer of venue from Tulsa to

   Oklahoma City at the agency’s request). Defendants are not required to waive their venue rights just

   because other officials have done so. Indeed, most of Plaintiffs’ citations do not discuss venue at all,

   with the exception of one where the court noted a venue challenge and declined to rule on it because

   Plaintiffs lacked standing anyway. See Bruni v. Hughs, No. 5:20CV35, 2020 WL 3452229, at *3 n.2, *7

   (S.D. Tex. June 24, 2020). Hardly the ringing endorsement of statewide venue that Plaintiffs portray.

           Ultimately, Plaintiffs have not met their burden of proving venue. If this court follows the Goff

   rule, that conclusion is clear: Plaintiffs advance no argument that venue is proper under Goff, instead




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   asking this court to reject the rule. See Doc. 31 at 16-17. 10 Even if this Court rejects Goff, adopting the

   minority rule focusing on effects on plaintiffs—a rule never once embraced by the Tenth Circuit—

   Plaintiffs’ Complaint offers no allegations of effects on Plaintiffs in the Northern District to justify venue

   here. They simply assume that any effects on them somewhere in Oklahoma allow them to sue in any

   venue in the state. Plaintiffs’ response brief is full of numerous allegations of how “Plaintiffs’ voters”

   will be affected in Tulsa, e.g. Doc. 31 at 15-17, but they cite nothing for these propositions. Completely

   absent from their Complaint is any allegation particular to Tulsa or the Northern District, nor is this suit

   brought by any Northern District voters, nor do they even allege in their Complaint that Plaintiff

   organizations are headquartered in the Northern District or have members who live in the District. All

   of this appears for the first time in their response to a motion to dismiss. Citation-less suggestions made

   for the first time in a brief do not meet their burden. See Doc. 24 at 4. In any event, this Court need not

   opine on those proof deficiencies, as it should follow the majority rule among the circuits and among

   district courts in this circuit, apply Goff, and transfer this case to the Western District.

                                                       CONCLUSION

           For these reasons, Defendants respectfully request that this court (1) dismiss the Board Members

   from this case and (2) dismiss this case for improper venue or transfer it to the Western District.



   10
      The farthest Plaintiffs go is in their arguments concerning § 1391(b)(1) (never referenced in their
   arguments regarding (b)(2) and Goff), such as pointing to the statewide duty to cause trainings to be
   held in counties. Doc. 31 at 11-12. But these purported facts justifying venue were raised for the first
   time in their opposition brief, not in their Complaint. This cannot meet their burden to prove venue.
   In any event, their brand-new allegations are the same sort of arguments rejected in Browning and have
   further legal defects, such as misrepresenting the statutes they cite, that Defendants lack space to
   clarify fully. Compare Doc. 31 at 11 (claiming the “Secretary must hold a training program ‘in each
   county’”) with Okla. Stat. tit. 26, § 3-111 (stating that Secretary “shall cause to be conducted a training
   program in each county”) and O.A.C. § 230:10-5-12 (county secretaries train inspectors, judges, clerks,
   and other precinct officials in each county). Moreover, such facts cannot meet the “substantial”
   requirement of § 1391(b)(2) if they were so insubstantial that Plaintiffs did not bother pleading them
   in the Complaint.

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                                              Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 24, 2020, I electronically transmitted the attached document to

   the Clerk of Court using the Electronic Case Filing System, which will transmit a Notice of Electronic

   Filing and a copy of the document to all counsel who have entered an appearance in this case.




                                                           s/ Mithun Mansinghani
                                                          MITHUN MANSINGHANI
